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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) ANGELA STEVENS, as Next Friend to             )
      and on Behalf of D.S., a minor                )
                                                    )
                               Plaintiff,           )
                                                    )
  vs                                                ) Case No. 19-CV-637-JED-JFJ
                                                    )
  (1) BERRYHILL BOARD OF EDUCATION                  )
  (2) BERRYHILL PUBLIC SCHOOLS                      )      JURY TRIAL DEMANDED
  (3) LEVI BRADLEY as Next Friend of T.B.,          )
  a Juvenile                                        )      ATTORNEY LIEN CLAIMED
  (4) ZACH ARTERBERRY                               )
  (5) MEGAN ENNIS, Individually and in her          )
  capacity as a teacher at Berryhill Public Schools )
  (6) RONNA TAYLOR, Individually and in her )
  capacity as a principal at Berryhill Public       )
  Schools                                           )
  (7) JAMES FOX, Individually and in his            )
  capacity as principal at Berryhill Public Schools )
  (8) BRIAN HAILEY, Individually and in his         )
  capacity as a Assistant Principal at Berryhill    )
  Public Schools                                    )
                                                      )
                               Defendants.            )

                                          COMPLAINT

         COMES NOW Plaintiff, Angela Stevens, as next fried of D.S., a minor child, by and

  through her attorney of record and for their complaint against the Defendants avers and states as

  follows:

                                             PARTIES

  1.     This is an action for violation of various civil rights, codified in the Federal Statutes,

         along with claims arising under state law against the Defendants in their individual

         capacities and as employees of agents of Berryhill Public Schools arising out of a
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        pervasive and repeated pattern of bullying, sexual harassment, and sexual discrimination

        against D.S.

  2.    Angela Stevens is a natural person who is the mother of D.S., a minor child and real party

        in interest. At all times relevant, she has been a resident of Tulsa County, located in the

        Northern District of Oklahoma.

  3.    Berryhill Public Schools is a public school system located in Tulsa County, located in the

        Northern District of Oklahoma.

  4.    Berryhill School Board is the governing body that governs and regulates the Berryhill

        School System, which is located in Tulsa County, located in the Northern District of

        Oklahoma.

  5.    Levi Bradley is the natural father and next friend of T.B. is a juvenile and a natural

        person that at all times relevant is a resident of Tulsa County, located in the Northern

        District of Oklahoma.

  6.    Zach Arterberry is a natural person that at all times relevant was a resident of Tulsa

        County, located in the Northern District of Oklahoma.

  7.    Megan Ennis is a natural person and a teacher, employed at the Berryhill School District,

        and at all times relevant was a resident of Tulsa County, located in the Northern District

        of Oklahoma.

  8.    Ronna Taylor is a natural person and a principal, employed at the Berryhill School

        District, and at all times relevant was a resident of Tulsa County, located in the Northern

        District of Oklahoma.
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  9.    James Fox is a natural person and a principal, employed at the Berryhill School District,

        and at all times relevant was a resident of Tulsa County, located in the Northern District

        of Oklahoma.

  10.   Brian Hailey is a natural person and a principal, employed at the Berryhill School

        District, and at all times relevant was a resident of Tulsa County, located in the Northern

        District of Oklahoma.

                                 JURISDICTION AND VENUE

  11.   This Court has subject matter jurisdiction over this action because the Complaint involves

        claims under Title IX of the Education Amendments of 1972 (20 USC § 1681 et. seq.),

        Title VI of the Civil Rights Act of 1964 (42 USC 2000d), and 42 USC § 1983 for

        violations of the Due Process Clause of the 5th and 14th Amendments.

  12.   Both the Berryhill School Board and the Berryhill Public Schools accept Federal money

        to fund various programs. Said expenditures are directed by the School Board, but the

        money is actually spent at and for the benefit of the School. Therefore Title IX and Title

        VI is applicable to these Defendants.

  13.   Venue is proper in this judicial district under 28 USC 1391(b) because a substantial part

        of the events or omissions giving rise to the Plaintiff’s claims occurred within this

        judicial district.

  14.   This Court has personal jurisdiction over each of the Defendants because they reside or

        conduct business within this judicial district.

  15.   This Court has supplemental jurisdiction over the claims brought under Oklahoma Law.

        The Plaintiff asserts that he has complied with the Oklahoma Governmental Tort Claims
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        Act and that his claims have been denied. The Plaintiff has exhausted his state law

        remedies.

                               FACTS COMMON TO EACH CLAIM

  16.   At all pertinent times, D.S. was a student at Berryhill Public Schools (“Berryhill”).

  17.   At all pertinent times, D.S. was on an IEP (Individual Education Plan) as a result of

        learning disabilities and a diagnosis for ADHD.

  18.   D.S.’s biological mother was addicted to methamphetamine and habitually used during

        the pregnancy.        Stunted growth was one of the complications resulted from D.S.’s

        biological mother’s drug use. This stunted growth made D.S. a target of bullying at

        school. D.S. was subsequently adopted by Angela Stevens.

  19.   In 2016-2017 school year, when D.S. was in Seventh Grade, students at Berryhill forced

        D.S. into a locker. The locker was then closed with D.S. in it. This incident was reported

        to Principal Taylor and Coach Bullick.

  20.   T.B. hit D.S. in the face, resulting in a black eye in the seventh grade.

  21.   This incident was followed by a meeting with Principal Taylor, Principal Bridgeman,

        Brian Hailey, Coach Bullick, Coach Wyse, and Angela Stevens in an effort to resolve

        these matters.    Ms. Stevens discussed pulling D.S. out of matches.            The school

        implemented a “safety plan” that would put D.S. at the front of the bus. Mr. Hailey said

        that he would conduct an investigation. Plaintiff is unaware of anything that came from

        this investigation.

  22.   When D.S. would report the bullying to school teachers (and specifically Ms. Ennis),

        they would say, “He is going to tell his mommy!”
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  23.   After repeated conferences with Ronna Taylor to report the instances of physical and

        verbal assaults, it was agreed that Angela Stevens could report these incidents directly to

        her and she would claim that the reports came from the “bully box” in order to protect

        D.S. from further mistreatment for “snitching”.

  24.   Angela Stevens made numerous reports to Principal Taylor following this agreement,

        Despite these reports, the school did nothing to stop or curtail the bullying.

  25.   At one point in the school year, T.B. was placed in in-school suspension with D.S. While

        he was there, he struck D.S. in the head with a book and threatened to “whip D.S.’s butt”.

  26.   Despite the assaults and patterns of behavior that had occurred and been reported, the

        school placed D.S. in the same classroom with T.B. for the following school year.

  27.   In eighth grade, Zach Arterberry pushed D.S. against the wall and punched him in the

        stomach. Mrs. Ennis was present for this assault. While she watched the entire event,

        she did nothing.

  28.   In January 2019, another student, known as M.P. slapped D.S. a number of times. This

        matter was reported to Principal Taylor. Nothing was done following this event because

        M,.P. was being suspended for a different offense.

  29.   In approximately February 2019, Zach Arterberry simulated a forced sex act (commonly

        referred to as “dry humping”) on D.S. in the classroom.            During the attack, Zach

        Arterberry unzipped his pants, exposing his crotch, and shoved it in D.S.’s face. Mrs.

        Ennis was present for the assault and merely took a picture of the event and laughed.

  30.   No action was taken by the school, despite being directly witnessed by school officials.
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  31.   On April 29, 2019, the Zach Arterberry and T.B. were again present in Ms. Ennis’s class

        with D.S.

  32.   Zach Arterberry and T.B. then took some tape from the Ms. Ennis’s desk and taped

        D.S.’s mouth shut. When D.S. removed the tape, they taped his hands behind his back,

        tied his shoe-laces together, and forcibly pulled his pants down.

  33.   Zach Arterberry and T.B. then attempted to pull D.S.’s underwear down when Ms. Ennis

        said, “Enough”.

  34.   Zach Arterberry then exposed his own penis and shoved it in D.S.’s face, touching D.S.

        with his penis. While he was doing this, he was saying, “You know you like it”. Zach

        Arterberry went on to call D.S. a “faggot”.

  35.   During the attack, another student was videoing the attack and posted the video to Snap-

        Chat, where it was circulated on the internet.

  36.   During the attack, another student held the door shut to prevent D.S. from escaping.

  37.   Finally, Ms. Ennis told Zach to “pull his pants up”.

  38.   When the attack was over, D.S. attempted to flee the classroom to the hallway, where he

        believed he would be on camera. Ms. Ennis confronted him in the hallway and ordered

        him to return to the classroom.

  39.   Ms. Ennis failed to report the incident to the principal. The matter was reported the

        following day by D.S.’s parents.

  40.   No one at the school contacted DHS to report the abuse of D.S. by Zach Arterberry, an

        adult.
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  41.     Ultimately, the school suspended T.B. and Zach Arterberry for the few days that

          remained in the year.

  42.     Following these events, during a conversation with Angela Stevens, Ronna Taylor, a

          school principal, said that she did not feel that D.S. was in an environment where he

          could learn in that classroom, so she had made it clear to the teacher that D.S. would

          receive a passing grade.

  43.     Principal Ronna Taylor went on to say that the number one priority of the school was to

          protect and the second was to educate. She then said, “I am sorry that we have failed

          [D.S.].”

  44.     The school report card reflects that D.S. did pass pre-algebra and the on-line class (Ms.

          Ennis’s class), despite the fact that he did not have passing grades.

  45.     As a result of the continued bullying and mistreatment at the hands of the defendants,

          D.S. has attempted suicide and been hospitalized several times for depression and

          suicidal ideations.

                       COUNT I - CLAIMS FOR VIOLATION OF
        TITLE IX OF THE EDUCATION AMENDMENTS OF 1972 (20 USC 1681 et. seq.)

  46.     Berryhill Public Schools and the Berryhill Board of Education (collectively “the School”)

          each receive Federal funding.

  47.     The School and its personnel permitted Zach Arterberry and T.B. to sexually harass D.S.

          by repeatedly permitting unwanted sexual contact.

  48.     The School and its personnel permitted Zach Arterberry to sexually assault D.S. by

          permitting him to “dry hump” and touch D.S.’s face with his crotch.
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  49.   The School and its personnel permitted Zach Arterberry and T.B to discriminate against

        D.S. based upon their perception that he was homosexual.

  50.   The School: (1) remained deliberately indifferent to the acts of harassment of which it

        had actual knowledge, (i.e., a school supervisor / “appropriate person” knew that

        Arterberry and T.B. posed a substantial risk or danger of harming students) (2) the

        harassment was reported to or otherwise known by an “appropriate person” (i.e., the

        Principal and Assistant Principal) with the authority to take corrective action to end the

        discrimination, and (3) the harassment was ‘so severe, pervasive and objectively

        offensive that it deprived D.S. of access to the educational benefits or opportunities

        provided by the School.

  51.   The School acted with deliberate indifference was deliberately indifferent through its

        failure to respond to the known harassment in a timely and reasonable manner. The

        School failed in its obligations under federal law to address and/or prevent Arterberry and

        T.B.’s illegal and predatory behavior.

  52.   In this regard, Principal Ronna Taylor has acknowledged that the school failed to protect

        and educate D.S.

  53.   The bullying suffered by D.S. was so severe, pervasive, and objectively offensive that to

        deprived him of the educational benefits provided by the school. This was admitted by

        Principal Ronna Taylor and is the reason it was necessary for her to instruct the teachers

        to give D.S. a passing grade.

  54.   Defendants’ violations of Title IX proximately caused D.S. injuries, severe emotional

        trauma and distress, pain and suffering and the damages sought by Plaintiffs herein.
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                    COUNT II - CLAIMS FOR VIOLATION OF
  TITLE II OF THE AMERICANS WITH DISABILITIES ACT (42 USC 12101 et. seq) and
     SECTION 504 OF THE REHABILITATION ACT OF 1973 (29 USC 794 et. seq.)


  55.   D.S. is on an IEP with the school as a result of his learning disabilities and a diagnosis of

        ADHD.

  56.   D.S. was the target of bullying as due to his mental disabilities.

  57.   D.S. was placed in the computer class where the events described above occurred as a

        result of his disability.

  58.   D.S. was called “retard” and other names by students as a result of his disability.

  59.   The harassment was so severe, pervasive, and objectively offensive that to deprived him

        of the educational benefits provided by the school. This was admitted by Principal

        Ronna Taylor and is the reason it was necessary for her to instruct the teachers to give

        D.S. a passing grade.

  60.   The school administration knew of the harassment, as it had been complained of many

        times.

  61.   The school administration showed their deliberate indifference by failing to protect D.S.

        and provide him with an environment that he could learn in.

  62.   In 2017 - 2018, the school administration placed D.S. and T.B. in in-house suspension

        together, knowing that T.B. has a previous history bullying behavior with D.S. D.S. was

        assaulted by T.B. during that time.
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   63.   The school administration further showed their deliberate indifference when D.S. was

         placed in the same classroom for school year 2018 - 2019 with students that had a past

         history of bullying and harassing him.

   64.   Defendants' violations of the ADA and Section 504 proximately caused D.S. injuries,

         severe emotional trauma and distress, pain and suffering and the damages sought by

         Plaintiffs herein.

   65.   Plaintiff is not required to exhaust the administrative remedies because the abuse is

         entirely in the past as a result of D.S. being home schooled and Zach Arterberry

         graduating from high school.

   66.   Plaintiff is not required to exhaust the administrative remedies because seeking

         compensatory damages through the administrative process would be futile.

   67.   Plaintiff is not required to exhaust the administrative remedies because he is not seeking

         non-discriminatory access to the school in this litigation.

                       COUNT III - CLAIMS FOR VIOLATION OF
         42 USC 1983, EQUAL PROTECTION AND SUBSTANTIVE DUE PROCESS

   68.   Oklahoma Law contains a “School Safety and Bullying Prevention Act, which is codified

         at 70 OS 24-100.2 et. seq.

   69.   The School has a Bullying Policy, which is maintained at their website at

         https://www.berryhillschools.org/media/files/Bullying%20Policy%20511%202016.pdf,

         which is directly intended to address and resolve the issues complained of by Plaintiff.
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   70.   70 OS 24-100.4(3) mandates that the bullying policy require employees to have “reliable

         information that could lead a reasonable person to suspect that a person is the target of

         bullying shall immediately report to the principal....”

   71.   70 OS 24-100.4(9) requires that the school policy require annual training of

         administrators and teachers.

   72.   Berryhill School policy requires that all “[s]taff members who witness such events are to

         complete reports and to submit them to the building principal.”

   73.   The policy allows for the children themselves to report bullying behavior.

   74.   The policy further requires the investigation of reports that are made anonymously.

   75.   The policy further requires that if it is determined that a crime was committed, the

         building principal and/or the superintendent is required to notify law enforcement.

   76.   Megan Ennis, Ronna Taylor, James Fox, and Brian Hailey acted with reckless

         indifference to the rights of D.S. because they each failed to comply with the district’s

         anti-bullying policy. This failure resulted in continued bullying and a denial of D.S.’s

         right to equal protection and substantive due process.

   77.   Based upon the recurring events in Megan Ennis’s classroom, it is apparent that Ronna

         Taylor, James Fox, and Brian Hailey ignored an obvious need for training.

   78.   Based upon the recurring events in Megan Ennis’s classroom, it is apparent that Ronna

         Taylor, James Fox, and Brian Hailey failed to adequately supervise Megan Ennis or her

         classroom.

   79.   Following the events of April, 2019, Ms. Churchwell (another teacher in the school) told

         her class that the bullying event that occurred on April 29 was “not a big deal”.
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   80.   The attitude expressed by Ms. Churchwell is pervasive in the Berryhill Schools

         environment and is contrary to the established policy and demonstrates a lack of training.

   81.   Under Oklahoma law, every person who has reason to believe a child under 18 has been

         abused is required to promptly report the abuse to the Department of Human Services.

   82.   The actions of Zach Arterberry toward D.S. constitute both a crime and abuse, yet was

         unreported by Megan Ennis, Ronna Taylor, James Fox, or Brian Hailey. Their failure to

         perform the obligations established by both law and policy resulted in a violation of

         D.S.’s clearly established constitutional rights.

   83.   The school district and school board’s lack of response to the repeated attacks on D.S.

         constitute deliberate indifference, which resulted in a denial of D.S.’s equal protection

         rights.

   84.   The failure of Megan Ennis, Ronna Taylor, James Fox, or Brian Hailey to properly

         respond to the repeated attacks on D.S. constitute deliberate indifference, which resulted

         in a denial of D.S.’s equal protection rights.

   85.   Had the victim of the sexual assaults suffered by D.S. been female, the perpetrator and

         the incident would have been handled differently.

   86.   On information and belief, the School and its employees; specifically Megan Ennis,

         Ronna Taylor, James Fox, and Brian Hailey; handles assaults and bullying against girls

         differently (and more severely) than they handle assaults and bullying against boys. This

         disparity in treatment demonstrates discriminatory intent.
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   87.     Despite knowing that Zach Arterberry and T.B. had a history of bullying and assaulting

           D.S., the school and the administrators placed D.S. in the same classroom with the

           bullies, thus subjecting D.S. to the risk of further violence at their hands.

   88.     By creating the risk of further bullying and assault the school and administrators denied

           D.S. substantive due process.

   89.     The inaction of the school and its personnel in response to the repeated incidents of

           bullying has denied D.S. an education, thus violating D.S.’s rights under the Due Process

           Clause.

         COUNT IV - CLAIMS FOR NEGLIGENT AND INTENTIONAL INFLICTION OF
                               EMOTIONAL DISTRESS

   90.     Zach Arterberry and T.B. have bullied and assaulted D.S. in school.             Each of these

           incidents was done in public, at school, in the view of other students and teachers.

   91.     The simulated sexual assaults, specifically, were done in public and were calculated to

           humiliate the Plaintiff.

   92.     The actions of Zach Arterberry and T.B. are so extreme and outrageous as to go beyond

           all bounds of decency and are intolerable in a civilized society. In fact, these actions on

           their face are so intolerable as to be criminalized under Oklahoma law.

   93.     The actions of Zach Arterberry and T.B. intentionally or recklessly caused severe

           emotional distress to D.S. beyond what a reasonable person could endure.

   94.     The emotional distress was so severe as to resulted in repeated hospitalization, and loss of

           educational opportunity.
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   95.    Defendants Berryhill Board of Education, Berryhill Public Schools, Megan Ennis, Ronna

          Taylor, James Fox, and Brian Hailey have a duty imposed by both Oklahoma Law and

          the Bullying policy to address bullying behavior.

   96.    The policy requires the reporting of bullying incidents by teachers to administration when

          they witness or have reason to believe that a student has been the victim of bullying.

   97.    The policy allows for the separation of the perpetrator from the victim.

   98.    The policy sets forth the discipline of those involved in bullying, none of which were

          done prior to the events of April 29, 2019.

   99.    The lack of action on the part of Defendants Berryhill Board of Education, Berryhill

          Public Schools, Megan Ennis, Ronna Taylor, James Fox, and Brian Hailey breached the

          duty that they owed to follow both school policy and the law.

   100.   As a result of the negligence of Defendants Berryhill Board of Education, Berryhill

          Public Schools, Megan Ennis, Ronna Taylor, James Fox, and Brian Hailey, D.S. has

          suffered from extreme emotional distress and humiliation, resulting in repeated

          hospitalization in a psychiatric hospital suffering from suicidal ideations, depression and

          other maladies.

                               COUNT V - CLAIMS FOR BATTERY

   101.   D.S. has never consented to be struck or to have any physical or sexual contact with Zach

          Arterberry or T.S.

   102.   In 2018, T.B. struck D.S. in the face, resulting in a black eye.

   103.   In 2018, while in in-house suspension, T.B. struck D.S. in the head with a book and

          threatened to “whip D.S.’s butt”.
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   104.   During the 2017 - 2018 school year, Zach Arterberry pushed D.S. against a wall and

          punched him in the stomach.

   105.   In February 2019, Zach Arterberry and T.B. simulated a forced sex act on D.S., by

          forcing their crotches in his face and touching other parts of his body with their crotches.

   106.   On April 29, 2019, Zach Arterberry and T.B. taped D.S.’s hands behind his back,

          attempted to pull D.S.’s pants down. During this attack, Zach Arterberry touched D.S. in

          the face with his penis.

   107.   As a result of these batteries, D.S. has suffered damages, including physical injury,

          humiliation, embarrassment, emotional distress resulting in repeated hospitalization, and

          loss of educational opportunity.

          COUNT VI - CLAIMS FOR NEGLIGENT TRAINING AND SUPERVISION

   108.   Oklahoma Law imposes a duty on school districts and school boards to create an anti-

          bullying policies that are consistent with statute.

   109.   Both the policy created by the school and state statute require annual training of staff and

          administrators.

   110.   The failure of Megan Ennis to report the bullying that she witnessed demonstrates that

          she has not been adequately trained.

   111.   Megan Ennis has previously reported to her principal that her classroom was “out of

          control” and she was not provided with further assistance of personnel or training,.

   112.   Ms. Churchwell’s statements to her class describing the attack on D.S. as “not a big deal”

          further demonstrates that she is also inadequately trained.
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   113.   Ronna Taylor, James Fox, and Brian Hailey are all persons who have failed to adequately

          supervise and train Megan Ennis.

   114.   The school board has failed to ensure that the employees and administrators at the school

          are adequately trained.

   115.   Even after being a repeated victim of bullying at the hands of T.B. and Zach Arterberry,

          the school administration continued to place D.S. in classroom environments with his

          tormentors, in violation of the Bullying Policy.

   116.   As a result of these failures, D.S. continued to suffer from regular batteries and continued

          bullying at the hands of Zach Arterberry and T.B.

   117.   As a result of the continued bullying and mistreatment, D.S. has suffered damages,

          including physical injury, humiliation, embarrassment, emotional distress resulting in

          repeated hospitalization, and loss of educational opportunity.

                      COUNT VII - ACTUAL AND PUNITIVE DAMAGES

   118.   The action of each defendant are of the type that should not be tolerated in a civilized

          society.

   119.   The actions of defendants Berryhill Board of Education, Berryhill Public Schools, Megan

          Ennis, Ronna Taylor, James Fox, and Brian Hailey demonstrate deliberate indifference or

          reckless disregard for the rights of D.S., and therefore deserving of an award of punitive

          damages.

   120.   The actions of T.B. and Zach Arterberry were intentional and malicious, and therefore

          deserving of an award of punitive damages.
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          WHEREFORE, the Plaintiff prays for judgment against the Defendants in the

   compensatory amount in excess of $75,000, punitive damages in excess of $75,000, costs and

   attorney fees associated with this action and any other relief available in law and equity.

                                                 Respectfully Submitted,

                                                 __/s/ John M. Dunn________
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